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a C- i Jon F Turpin <jt4590@gmail.com>
Gmail pin <j @g

OSC-14, MSPB, Hatch Act Complaint, Potential Violations of Megan's Law |
Protections: Vatican, Whistleblower, Napoleonic (Law) Civil Code, U.N. Diplomatic
Immunity, Witness Protection, FBI Infragard Indiana & Louisiana Confidentiality, Etc.
Et Al

Jon F. Turpin <jt4590@gmail.com> Fri, Jul 14, 2023 at 3:10 AM
To: kirjaamo.okv@gov.fi, OSC & MSPB Complaint <info@osc.gov>, "SA Joseph L. Chaney" <jlchaney@fbi.gov>, Honorable
Todd Rokita Attorney General IN <todd.rokita@in.gov>, Honorable Jeffrey Landry Attorney General Louisiana
<jeff.landry@la.gov>, Father Brent Maher <padrepbm@gmail.com>, Imillet@portsl.com, sachatessier@gmail.com, "Alexis St.
Amant" <sta_law@bellsouth.net>, His Holiness Pope Francis <info@vaticanrome.it>, turpins-families-
legacies@googlegroups.com, dfreed@yorktownindiana.org, kirk@kirkfreemanlaw.com, diego.morales@in.gov,
kyle.ardoin@la.gov, doughty_motions@lawd.uscourts.gov

Bcc: business@jordanbpeterson.com, media@jordanbpeterson.com, info@privacyinternational.org,
press@privacyinternational.org, media@nyclu.org

Dear Honorable Chief Justice Terry A. Doughty,

Hon. Terry A. Doughty

Chief United States District Judge
201 Jackson Street, Suite 215
Monroe, Louisiana 71201

(318) 654-6500

U.S. DISTAIGT GOURT
WESTERN DISTRICT OF LOUISIANA
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‘My name js Jon F. Turpin and | am a dual citizen of Louisiana and Indiana with Napoieonic (Law) Civil Code superseding
via Usufruct and Napoleonic Imminent Domain,

lam joining Case 3:22-CV-01213 as a co-plaintiff, and intervenor, alongside Louisiana, Missouri, and representing
Indiana, myself, and my wife Pro Se, and/or Pro Hac Vice if required and/or applicable, and potentially with Honorable
Attorney General Todd Rokita should he choose to join. | join as wall as an original whistleblower of an international and
national cryptecurrency scam, who may have been doxxed, stalked, unconstilutionally surveilled, and denied multiple
God-given inalienable rights, constitutional rights, and civil rights, etc. et al, with an accompanying OSC-14 complaint and
added defendants.

As | may be their only available representation due to their violations of Megan's Law, and all jurisprudence and reason,
including multiple State Laws, Federal Law, Napoleonic (Law) Civil Code, our Constitution, Bilt of Rights, U.N. Charter
and Bill of Rights, ali Geneva Conventions, the Vienna Convention, and Nuremberg Trials jurisprudence regarding illegal
science agalnst autistic persons, such as myself, with a condition previously known as "Asperger's Syndrome” / pre-enter
their guilty pleas.

My complaint entry exceeds the allowed maximum number of pages by such an amount, and our losses and harms may
be so horrendous, that they might only be described as war crimes on our soil, and an active coup against all reason:
TREASON.

Our potential harms and losses may now exceed $70,000,000 based on real losses and precedent, without exaggeration,
and involve violations of rights so persistent and severe that their intended conclusion may be to forcibly enact "People v.
Goetz.”

Or in other words: Civil War; A gross tragedy of human bondage, bloodshed, and heartbreak which our great United
States should never endure again.

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We are seeking a Presidential Pardon and full restoration of our losses and harms, along with our Constitution with life,
liberty, and pursuit of happiness.

Most importantly we must demand our right to worship and the preservation of the sanctity of our Holy Catholic Marriage,
under God In Whom We Trust.

We have been maimed, robbed, threatened, beaten, evicted, swatted, and treated in such a way that only our ancestors
may have experienced while fleeing as refugees, yet still we endure and forgive.

Even as we have spent our own retirements just to have a semblance of independence, and prepared thousands of hours
of jurisprudence, not only for our freedom of speech, for even that was robbed of us harshly...

But simply to ATTEMPT to retain the most basic of our God-given inalienable rights: The right to merely say "no" to abuse
without further harms, losses, and violations | may only describe as "against all God's Creatures,"

Would you please accept our courtesy filing, and allow the U.S. Marshal's to collect the evidence of these crimes which
I've detailed as concisely and chronologicaliy as | could in the Yorktown, IN evidence locker?

Yorktown Town Hall

9312 W Smith St

Yorktown, IN 47396

if not, I'l bring it to you in yet another trip across our great nation under whistleblower and all available protections, just for
the chance to file in your court even if it takes us past our bottom dollar for you to hear our case.

These persons have no boundaries, and seemingly enjoy watching others suffer, even my lovely wife, who has done
nothing to them, yet they threatened I'd be shot and that she would be "destitute with five kids living under a bridge."
Honorable Chief Justice Terry A. Doughty, who does that? Who then pretends that you and your wife, the persons they
threatened with death and destitution, are insufferable upon society and robs your rights slowly and deliberately?

Even now these persons altempt to override rulings of higher courts and jurisdictions with false allegations and false
protective orders against us, and leave our government crippled with their constant abuses of our court systems.

We are pacifists and persons of Faith, and our path has led us here to you as our final stop before flying over our mighty
Pontchartrain to His Holiness the Pope, Mary, Joseph, Jesus, and God, te pray God's justice and mercy on us all.

Please, allow us to file alongside our Brave and Honorable Attorney Generals of Missouri and Louisiana, and warrant our
U.S, Marshals to enact the justice that has been denied us nigh a lifetime against all reason, jurisprudence, and God.
Our situation and circumstances may be so severe, | may be the only available and possible representation, as a Pro
Se/Pro Hac Vice lawyer, for many if not all the defendants I've added, by all jurisprudence and in case my opinion Is
affirmed:

| have presubmitted their guilty pleas with request for any and all due leniency, since those who may violate Megan's Law
may have no right to privacy, and therefore, to my understanding, they cannot have nor retain Attorney/Client privilege.
Please forgive my passion and conviction, but in my opinion, years of their patterned bad behavior is not only wholly
unreasonable, unacceptable, and intolerable, but also a violation against our very foundations, our flag, and almighty
God,

Please, Honorable Chief Justice Doughty, would you allow us this opportunity, and the chance of our rightful and earned
restoration, so we may merely retain what we earned ourselves, to help others, as is written, and end this constant attack
on our freedoms? Please, add me to this endeavor to reclaim and reaffirm our God-given, Inalienable, Constitutional, and
all Civil Rights, including even the rights to say "no" and continue honest contribution via work in our great United States
of America, not only in words, but in peaceful, assertive actions with the right to stand our ground, or even by leaving for
our safety, so we may continue to Worship God in our Faith and Catholic Church with even the chance of Life, Liberty,
and Pursuit of Happiness.

Sincerely,

Jon F. BD. Turpin

FBI infragard Indiana
2421S Plum St,
Yorktown, IN

Jon F. D. Turpin

FBI Infragard Louisiana
247 Maximillian St.,
Baton Rouge, LA 70802

Kirk Freeman
323 Columbia St Suite 100,
Lafayette, IN 47901

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Sacha Tessier
3127 North Blvd,
Baton Rouge, LA 70806

Download: [Drive Files] | Correspondence | ThorfinnrWhistleblowerFiles.7z [Followup-

Email]
(INCLUDES INFORMATION IN JT4590@GMAIL.COM NOW & PROCEEDING, ETC. ET AL)

Dear Office of the Chancellor of Justice,

Office of the Chancellor of Justice

Street Address Snelimaninkatu 1, Helsinki

Postal Address P.O. Box 20, 00023 Government, Finland
Telephone +358 (0)295 162 902 (registry, on weekdays at 9-15)
E-mail kirjaamo.ckv(at)gov.fi

Download: [Drive Files] | Correspondence | ThorfinnrWhistleblowerFiles.7z [Followup-

Email]
(INCLUDES INFORMATION IN JT4590@GMAIL.COM NOW & PROCEEDING, ETC. ET AL)

Sincerely,
Jon F. D. Turpin

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E-mail: jt4590@qmail.com

FBI infragard Louisiana & Indiana

BAS in CIT - IUPUI

AAS in CIF Networking & Security - lvy Tech

“A successful man is one who can lay a firm foundation with the bricks others have thrown at him." -David Brinkley

womens FQrwarded message --------~

From: Jon F, Turpin <jt4580@gmail.com>

Date: Tue, Jul 11, 2023 at 3:00 PM

Subject: OSC-14, MSPB, Hatch Act Complaint, Potential Violations of Megan's Law | Protections: Vatican, Whistleblower,
Napoleonic (Law) Civil Code, U.N. Diplomatic Immunity, Witness Protection, FBI Infragard Indiana & Louisiana
Confidentiality, Etc. Et Al

To: SA Joseph L. Chaney <jlchaney@fbi.gov>, Honorable Todd Rokita Attorney General IN <todd rokita@in.gov>,
Honorable Jeffrey Landry Altorney General Louisiana <jefflandry@la.gov>, Father Brent Maher
<padrepbm@gmail.com=, <Imillet(@portsl.com>, <sachatessier@gmail.com>, Alexis St. Amant <sta_law@bellsouth.net>,
His Holiness Pope Francis <info@vaticanrome.it>, <turpins-families-legacies@googlegroups.com>, Charles Roach
<croach@croachlaw.com>, <info@osc.gov>, <direed@yorktownindiana.org>, <kirk@kirkireemaniaw,com>

Dear OSC and MSPB, etc. eat al,

Please receive the attached, and accept the invite to Google Drive to attach all information with all available and
appropriate protections under aur Holy Catholic Church OSC-14, MSPB Appeals, Whistleblower, Hatch Complaint Act,
Presidential Pardon Request, FBI Infragard Confideniiality, etc. et al. The following Google Drive link is to a .7zip file
which is encrypted and password protected: ThorfinnrWhistleblowerFiles.7z [In Follow-Up Email]

Password will not be provided within this email to respect the aforementioned and any other available and appropriate
protections, including God, our Faith, and Catholic Church, Pro Se Attorney Client Privilege, Honorable State Attorney
Generals, OlG's, etc. at al.

in my opinion, dual residency, and my usufruct and/or reverse usufruct at my discretion, is confirmed by the Louisiana IRS
via denying my remate work licensure, legal precedent, via my successful good faith actions in payment of taxes in iN,
LA, and Federally, allowing international and legal affairs, etc. et al, including passport and travel, under Louisiana’‘s
Napoleanic (Law) Civil code superseding, as is just and proper, while still allowing respect for Indiana's Right to Werk
Laws, and residency for voting, licensure, and business, etc. et al.

[UPDATED PROTECTED ADDRESS LIST]

(Potential evidence is also located at the addresses/residences below:

323 Columbia St Suite 100, Lafayette, IN 47901

1 Mulberry St., Cambridge City, IN 47327

13 Mulberry St., Cambridge City, IN 47327

2421S Plum St., Yorktown, IN 47396

9312 W Smith St Yorktown, IN 47396

247 Maximilian St., Baton Rouge, LA 70802

10544 Cletus Drive, Baton Rouge, LA 70815

3127 North Blvd, Baton Rouge, LA 70806

and must also be considered protected as aforementioned, etc. et al.)

{Potential evidence is also located in potentially the oldest building in Yorktown, IN, our wooden barn, and Yorktown, IN
town hail evidence locker and must also be considered protected as aforementioned, ete. et al.)
{UPDATED PROTECTED ADDRESS LIST]

Further information which may be related to the following case, and my lovely wife, our marriage, cats, residences,
computers, phanes, drives, emails, mail, files, and any and all potential evidence, etc. et al must receive any and all
appropriate and available protections. Our vehicles at rest and in transit, intestate and interstate, along with occupants
and belongings must also be inciuded in all afforded and available protections as aforementioned, etc. et al.

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA

MONROE DIVISION

STATE OF MISSOURI, ET AL. CASE NO, 3:22-CV-01213

VERSUS JUDGE TERRY A. DOUGHTY

JOSEPH R. BIDEN JR., ETAL. MAG. JUDGE KAYLA D. MCCLUSKY

Hon. Terry A. Doughty
Chief United States District Judge
201 Jackson Street, Suite 215

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Monroe, Louisiana 71201
(318) 654-6500

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7/14/23 GAS OnB : 2.2-CGrkad 2685-TaNibeHB Hatch ReoCunimaniuPatedial Roletcn@othdebaa S Lal? PYGectionk: VaRag MiBtedlo@er Masoleo...

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Best Regards,

Jon F, D, Turpin

E-maik: jt¢4590@aqmail.com

FBI infragard Louisiana & indiana
BAS in CIT - IUPUI

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8 attachments

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i) Gmail - OSC and MSPB. pdf
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i) OSC Form-i4 Prohibited Personnel Practice Form_070523_D.pdf
1138K

# Gmail - Shiba Inu and DeFi Token Scams - Help.pdf
102K

=) Eviction Notice 3 (1).pdf
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z Eviction Notice (1).pdf
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a) Eviction Notice 4 (1).pdf
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Eviction Notice 5 (1).pdf
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